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                                            March 13, 2019
  Via ECF

  Honorable Michael A. Hammer
  United States Magistrate Judge
  United States District Court for the District of New Jersey
  50 Walnut Street 2C
  Newark, New Jersey 07101

           Re:      Hager v. Nat’l Recovery Agency
                    Case No.: 2:17-cv-07450-MCA-MAH

  Dear Judge Hammer:

          This firm represents defendant National Recovery Agency (“NRA”) in the above-referenced
  matter. We respectfully write to Your Honor to request an adjournment of tomorrow’s hearing, or
  alternatively, request that NRA’s representative be permitted to appear via telephone. [Dkt. 33].
  First, NRA’s chief representative and CEO, Steve Kusic is scheduled to appear in Federal Court
  tomorrow in the United States District Court for the District Of Utah, Central Division in the matter,
  Advanced Recovery Systems, LLC vs. American Agencies, LLC (Case No. 2:13-cv-00283-DAK)
  before Judge Dale A. Kimball.

          Mr. Kusic is expected to testify in that matter tomorrow morning and therefore will have
  limited to no availability at the time of tomorrow’s hearing. Mr. Kusic has been my main contact in
  this matter and is the only NRA representative with knowledge of this case. Due to his familiarity
  with this case, Mr. Kusic prefers to be involved in any and all settlement discussions in this matter.
  Based on Mr. Kusic’s unavailability, we respectfully request an adjournment of tomorrow’s hearing.

          If Your Honor is not inclined to grant an adjournment of tomorrow’s hearing, NRA
  alternatively requests that NRA’s representative – who will have very limited knowledge of the
  procedural history and will need to contact Mr. Kusic to obtain settlement authority – be permitted to
  appear via telephone at tomorrow’s conference. NRA does not have a New Jersey office. Rather, its
  lone office is located in Harrisburg, PA – more than 160 miles away from Newark, New Jersey. As
  such, NRA’s representative, who has limited will be forced to travel 320 miles to appear for
  tomorrow’s in-person hearing. Accordingly, NRA respectfully requests that its representative be
  permitted to appear via telephone.

           We thank Your Honor for his consideration.




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                                        Respectfully submitted,

                                        GORDON REES SCULLY MANSUKHANI, LLP

                                        /s/ Matthew P. Gallo

                                        MATTHEW P. GALLO
cc:   All Counsel of Record (via ECF)
